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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                    )
  UNITED STATES OF AMERICA,                         )
                                                    ) Criminal No. 1:22-cr-00015-APM
                         v.                         )
                                                    )
  ELMER STUART RHODES, KELLY                        )
  MEGGS, JESSICA WATKINS,                           )
  KENNETH HARRELSON                                 )
                                                    )
                   Defendants                       )



                                                    ORDER
        Based upon Defendants, Elmer Stuart Rhodes, Kelly Meggs, Jessica Watkins, Kenneth

Harrelson’s Motion in Limine that seeks to bar the government from introducing bar the government

from introducing statements on a Zello Chat (identified as 6 zello from www.youtube.com watch

v=nF1bud0Rqym.MP4), or the transcript of this chat, at trial, the Government’s Opposition thereto, any

reply in support of the motion, oral argument, and the entire record before this court, constitutes Hearsay

within Hearsay, and unless the government provides some exception, at this time is barred.

        It is therefore, hereby Ordered that, the Defendants’ motion in limine is GRANTED.



                                        ________________________________
                                        The Hon. District Judge Amit P. Mehta
                                        United States District Court Judge


Copies to all Counsel via ECF
